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                         IN UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA



Morehouse Enterprises, etc., et al.      )
                                         )                 MOTION TO APPEAR
                                         )                 PRO HAC VICE
                                         )
               v.                        )
Bureau of Alcohol, Tobacco, Firearms and )                 Case No. 3:22-cv-00116-PDW-ARS
Explosives, et al.                       )
                                         )
                                         )
                                         )



             James Emory Smith, Jr. , an attorney for the State of South Carolina

moves the court pursuant to D.N.D. Gen. L. R. 1.3(D) for leave to appear pro hac vice.

       In support of the motion to appear pro hac vice, I submit the following information for

consideration by the Court:

 Other Bar Admissions:        State of South Carolina, Bar No. 5262
 list jurisdiction & ID       U.S. District Court for the District of SC, Federal ID. No. 3708
 number for each jurisdiction U.S. Courts of Appeals for the DC, 4th, 6th, 9th and 11th
                              Circuits (No ID #'s)
                              Supreme Court of the United States (No ID #)




 Disciplinary Actions:          None
 list all past or pending
 disciplinary actions,
 including disbarments,
 suspensions, probations, or
 any other restrictions
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       I will comply with the Local Rules of the United States District Court for the District of

North Dakota and will submit to the jurisdiction of the court in matters of discipline.

       Under penalties of perjury, I declare that the above information is true, correct, and

complete, to the best of my knowledge and belief.

       Dated this 11th          .
                              August, 2022
                                                     /s/ James Emory Smith, Jr.
